                      IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


 COMPASS, INC. and COMPASS RE NY LLC,                     Case No.: 1:21-cv-02195-LGS

                          Plaintiffs,

                 v.                                       NOTICE OF MOTION

 REAL ESTATE BOARD OF NEW YORK, INC.,

                          Defendant.



       PLEASE TAKE NOTICE that Non-Party Subpoena Recipient Douglas Elliman, LLC’s

(“Elliman”) hereby moves this Court before Honorable Lorna G. Schofield, United States

District Judge, at the Thurgood Marshall United States Courthouse, 40 Foley Square, New York,

NY 10007, on a date and time to be determined the Court, for an Order, pursuant to Federal Rule

of Civil Procedure 45(d)(1), granting Elliman’s motion for attorneys’ fees and costs (“Motion”)

incurred in connection with responding to two subpoenas issued by Compass, Inc. and Compass

RE NY LLC in the above-captioned case. The Motion is supported by an accompanying

memorandum of law and declaration by Jessica T. Rosenberg.


Dated: February 2, 2023
       New York, New York
                                                  KASOWITZ BENSON TORRES LLP

                                                  By: /s/ Jessica T. Rosenberg
                                                  Jessica T. Rosenberg
                                                  (jrosenberg@kasowitz.com)
                                                  1633 Broadway
                                                  New York, New York 10019
                                                  Telephone: (212) 506-1700

                                                  Counsel to Non-Party Douglas Elliman, LLC
